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 1   BRUCE LOCKE (#177787)
     Moss & Locke
 2   555 University Avenue, Suite 170
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for TODD ALLEN SMITH
 5
                              IN THE UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,           )                 No. CR S-10-191-JAM
 8                                       )
                       Plaintiff,        )
 9                                       )                 WAIVER OF DEFENDANT’S
                                         )                 PERSONAL APPEARANCE
10         v.                            )
                                         )
11   TODD ALLEN SMITH,                   )
                                         )
12                     Defendant.        )
     ____________________________________)
13
            Defendant hereby waives the right to be present in person in open court upon the hearing of
14
     any motion or other proceeding in this case, including when the case is set for trial, when a
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     continuance is ordered, when time is excluded under the Speedy Trial Act, when a detention hearing
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     is held, and when any other action is taken by the Court before or after trial, except upon
17
     arraignment, plea, empaneling of jury and imposition of sentence. Defendant hereby requests the
18
     Court to proceed during every absence of his which the Court may permit pursuant to this waiver;
19
     agrees that his interests will be deemed represented at all time by the presence of his attorney, the
20
     same as if defendant were personally present; and further agrees to be present in person in court
21
     ready for trial on any day which the Court may fix in his absence.
22
23
     DATED: September 8, 2010                        /S/ Todd Smith
24                                                 TODD ALLEN SMITH
25   APPROVED:
26   DATED: September 8, 2010                         /S/ L. Bruce Locke
                                                   BRUCE LOCKE
27                                                 Attorney for Todd Allen Smith
28
29                                                    1
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 2
          IT IS SO ORDERED.
 3
 4   DATED: 9/9/2010                   /s/ John A. Mendez
 5                                     UNITED STATES DISTRICT JUDGE
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